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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                           Chapter 7

    OROX CAPITAL MANAGEMENT, LLC, et al.,1                           Case No. 23-12118 (BLS)

                                     Debtors.                        (Jointly Administered)


                    NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                  HEARING ON APRIL 17, 2024 AT 11:00 A.M. (EASTERN TIME)


    PLEASE NOTE: THE HEARING HAS BEEN CANCELLED WITH PERMISSION OF
             THE COURT AS NO MATTERS ARE GOING FORWARD


I.           RESOLVED MATTERS

1.           Motion of George L. Miller, Chapter 7 Trustee, for Order Directing Joint Administration
             of Related Chapter 7 Cases for Procedural Purposes Only [Filed: 3/13/24] (Docket No.
             16)

             Response Deadline: March 22, 2024 at 4:00 p.m. Eastern Time

             Responses Received: None

             Related Documents:

             a)     Notice of Hearing of Motion of George L. Miller, Chapter 7 Trustee, for Order
                    Directing Joint Administration of Related Chapter 7 Cases for Procedural
                    Purposes Only [Filed: 3/13/24] (Docket No. 17)

             b)     Certification of No Objection of Motion of George L. Miller, Chapter 7 Trustee,
                    for Order Directing Joint Administration of Related Chapter 7 Cases for
                    Procedural Purposes Only [Filed: 3/26/24] (Docket No. 25).

             Status: The Court entered an order approving the joint administration motion on 3/27/24

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 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Orox Capital
Management, LLC (4939); AIHV I, LLC (7179); Armstrong Co-Investment Vehicle, L.P. (8126); CEI Holding
Vehicle, LLC (5105); OC Holding Vehicle, LLC (0838); OCAV IV, LLC (4825); OFAV I, LLC (9639); Orox
Capital Acquisition Vehicle I, LLC (8500); Orox Capital Co-Investment GP, L.P. (5106); Orox Capital Co-
Investment Vehicle I, L.P. (9236); Orox Capital Co-Investment Vehicle II, L.P. (3829); Orox Capital Co-Investment
Vehicle III, L.P. (7229); Orox Capital Credit GP, L.P. (1345); Orox Capital Credit Opportunities Fund, L.P. (1452);
Orox Capital GP, LLC (7073); Orox Finance Co-Investment GP, L.P. (3926); Orox Southwest Holding Vehicle,
LLC (0991); Orox SSW Holdings, LLC (1107); Oscar Equipment Company, LLC (3376); Oscar Holding Vehicle,
LLC (9768).


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          (Docket No. 26). No hearing is necessary.



2.        Application of Chapter 7 Trustee to Employ Miller Coffey Tate LLP as Accountants and
          Bankruptcy Consultants Effective as of January 23, 2024 [Filed 3/13/24] (Docket No. 18)

          Response Deadline: March 22, 2024 at 4:00 p.m. Eastern Time

          Responses Received: None

          Related Documents:

          a)        Certification of No Objection of Application of Chapter 7 Trustee to Employ
                    Miller Coffey Tate LLP as Accountants and Bankruptcy Consultants Effective as
                    of January 23, 2024 [Filed: 4/4/24] (Docket No. 27).

          Status: The Court entered an order approving the Miller Coffey Tate LLP retention
          application on 4/8/24 (Docket No. 28). No hearing is necessary.

II.       MATTER UNDER CNO

3.        Application of Chapter 7 Trustee for Authorization to Employ and Retain Pachulski
          Stang Ziehl & Jones LLP as Counsel to Chapter 7 Trustee, Effective as of February 7,
          2024 [Filed: 3/26/24] (Docket No. 23).

          Response Deadline: April 10, 2024 at 4:00 p.m. Eastern Time

          Responses Received: None

          Related Documents:

          b)        Certification of No Objection of Application of Chapter 7 Trustee for
                    Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as
                    Counsel to Chapter 7 Trustee, Effective as of February 7, 2024 [Filed: 4/15/24]
                    (Docket No. 30).

          Status: A certification of no objection has been filed, and the Trustee requests entry of
          the proposed order. No hearing is necessary unless the Court has questions.




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Dated: April 15, 2024                   PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Peter J. Keane
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                                        Proposed Counsel to George L. Miller, Chapter 7
                                        Trustee




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